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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,               )
                                        )
                   Plaintiff,           )                 4:09CR3091
                                        )
             V.                         )
                                        )
JOBITA WILLETTA AVERY,                  )                   ORDER
                                        )
                   Defendant.           )
                                        )


      IT IS ORDERED that the defendant’s motion to appoint counsel (filing 263)
is denied.

      DATED this 3 rd day of April, 2012.

                                       BY THE COURT:

                                       Richard G. Kopf
                                       Senior United States District Judge
